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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  §
Plaintiff,                                §
                                          §
V.                                        § CRIMINAL NO: 1:21-CR-00225-DLF
                                          §
                                          §
TRENISS JEWELL EVANS III                  §
Defendant.                                §

                          NOTICE OF APPEARANCE

TO THE HONORABLE UNITED STATES JUDGE FOR THE DISTRICT OF
COLUMBIA:

       Please enter my appearance as Lead Counsel in said case for Defendant,

TRENISS JEWELL EVANS III.

      I certify that I am admitted to practice in this Honorable Court.


SIGNED this the 10TH day of MAY 2021.




                                          Respectfully submitted


                                          ROBBIE WARD
                                          SBN: 24033435
                                          530 Lexington Ave
                                          San Antonio, Texas 78215
                                          Tel: (210) 758-2200


                                                  /s/
                                          ROBBIE WARD
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                            CERTIFICATE OF SERVICE

  I do hereby certify that a true and correct copy of the foregoing Notice of Appearance

was electronically filed with the Clerk of this Honorable Court using the CM/ECF system

which will send notification electronically to CHRISTOPHER BRODIE BROWN,

Assistant United States Attorney.

SIGNED on this the 10TH day of MAY 2021.

                                                   /s/
                                           ROBBIE WARD
